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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    WILMINGTON               TRUST,           NATIONAL                          Civil Action File No.
    ASSOCIATION, AS TRUSTEE FOR THE BENEFIT                                     _____________________
    OF THE REGISTERED HOLDERS OF UBS
    COMMERCIAL MORTGAGE TRUST 2019-C17,
    COMMERCIAL MORTGAGE PASS-THROUGH
    CERTIFICATES SERIES 2019-C17, acting by and
    through its special servicer, Rialto Capital Advisors,
    LLC, as Special Servicer under the Pooling and
    Servicing Agreement dated as of October 1, 2019,

                                                    Plaintiff,

                       v.

    36th STREET PROPERTY INC.; HR 442 CORP.; AE                                 COMPLAINT
    SOOK CHOI; JIN SUP AN; NEW YORK CITY
    DEPARTMENT OF FINANCE; NEW YORK CITY
    ENVIRONMENTAL                CONTROL             BOARD;
    NEWBANK; and “JOHN DOE NO. 1” TO “JOHN DOE
    NO. 100” inclusive, the last one hundred names being
    fictitious and unknown to plaintiff, the persons or parties
    intended being the tenants, occupants, persons or
    corporations, if any, having or claiming an interest in or
    lien upon the premises described in the complaint,

                                                    Defendants.


                     Plaintiff Wilmington Trust, National Association (“Trustee”), As Trustee For The

Benefit of the Registered Holders of UBS Commercial Mortgage Trust 2019-C17, Commercial

Mortgage Pass-Through Certificates Series 2019-C17 (the “Trust”),1 acting by and through its

special servicer, Rialto Capital Advisors, LLC (“Special Servicer”), as Special Servicer under the

Pooling and Servicing Agreement dated as of October 1, 2019 (the “PSA”), states its complaint

as follows:




1
    Trustee, as trustee of the Trust, shall be referred to hereinafter as “Plaintiff”.



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                             PARTIES, JURISDICTION AND VENUE

                1.      Trustee, acting solely in its capacity as trustee of the Trust, is a national

banking association with its designated main office located in Wilmington, Delaware.

                2.      Trustee is the duly appointed and presently serving trustee of the Trust

created under the PSA.

                3.      Trustee, not individually, but solely in its capacity as Trustee for the Trust

under the PSA, acting by and through Special Servicer, brings this action with express reference

to the Loan (defined below) and the matters related thereto as hereinafter set forth. Based upon

Delaware being the state of citizenship of Trustee, Plaintiff is therefore a citizen of Delaware.

                4.      Defendants 36th Street Property Inc. (“Owner Borrower”), and HR 442

Corp. (“Operator Borrower” and, together with Owner Borrower, “Borrowers”) who, upon

information and belief, are New York corporations both with an address of 442 West 36th Street,

New York, New York 10018: Attention: Ae Sook Choi and citizens of New York, are named

herein as defendants herein because they are the obligors of the subject note, mortgagors of the

subject mortgage and owners of the real property located at 442 West 36th Street, New York, New

York 10018, improved by the Hudson River Hotel, a 15-story, 56-room, limited-service lodging

facility (the “Hotel”), and more particularly described in Exhibit A annexed hereto and made a

part hereof (the “Property”) that are the subjects of this action.

                5.      Defendant Ae Sook Choi (“Choi”) who, upon information and belief, is an

individual with an address of 221-64A Horace Harding Expressway, Bayside, New York 11364

and a citizen of New York.

                6.      Defendant Jin Sup An (“An”) who, upon information and belief, is an

individuals with an address of 1815 215th Street, Apartment 7D, Bayside, New York 11360 and a

citizen of New York.

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                7.      Defendants Choi and an (collectively, “Guarantors”) are named as

defendants herein because they guaranteed Borrowers’ obligations with respect to the Loan

pursuant to the Guaranty (as defined herein).

                8.      Defendant New York City Department of Finance who, upon information

and belief, is a municipal entity maintaining an address at 1 Centre Street, New York, New York

10007 and citizen of the New York, is named herein as a defendant herein solely because of any

title or claim it might have against the Property as a result of any unpaid New York City business

corporation taxes and to extinguish such right, title, claim or interest in the Property.

                9.      Defendant New York City Environmental Control Board who, upon

information and belief, is a city department maintaining a principal place of business located at

100 Church Street, New York, New York 10007 and citizen of New York, is named a party

defendant herein as a possible judgment creditor of Owner Borrower as a result of that certain

judgment dated November 21, 2019, in the original amount of $1,450.00 and stemming from ECB

Violation No. 011684323L, concerning the Property.

                10.     Defendant NewBank who, upon information and belief, is a banking

corporation duly organized and existing under the laws of the State of New York and citizen of

New York, is named herein a defendant herein solely because of any title or claim it may have

against the Property as a result of that certain mortgage, dated November 15, 2019 and in the

original principal amount of $1,100,000.00, that NewBank recorded against the Property on

November 21, 2019 with the Office of City Register of the City of New York (the “City Register’s

Office”) as City Register File Number (“CRFN”) 2019000381383 (the “Subordinate Mortgage”).

                11.     Defendants John Doe No. 1 through John Doe No. 100, inclusive, are

fictitious and unknown to Plaintiff and are named herein to designate any and all tenants,

occupants, persons, corporations or other entities, if any, having or claiming an interest in or lien

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upon the Property or any part thereof, which is subject to the lien of the Mortgage (as defined in

Paragraph 17 of this Complaint).

                12.     Based on the foregoing, this Court has subject matter jurisdiction over this

dispute under 28 U.S.C. § 1332(a)(2) because it is between citizens of different states and the

amount in controversy exceeds $75,000.00, exclusive of interest and costs.

                13.     Based on the foregoing, venue is proper in this Court pursuant to 28 U.S.C.

§ 1391(b)(1) and (2).

                14.     Plaintiff brings this action to foreclose a mortgage in the original principal

amount of $14,200,000.00 that is secured by, inter alia, in the Property.

                                   FACTUAL BACKGROUND

                                         FIRST COUNT
                                      (Mortgage Foreclosure)

A.      The Loan

                15.     Pursuant to that certain Loan Agreement dated as of September 3, 2019 (the

“Loan Agreement”) executed by and between Borrowers and Ladder Capital Finance LLC

(“Original Lender”), Plaintiff’s predecessor-in-interest, Original Lender made a loan to Borrower

in the original principal amount of $14,200,000.00 (the “Loan”).

                16.     To evidence its indebtedness under the Loan Agreement, on or about

September 3, 2019, Borrower executed and delivered to Original Lender that certain Consolidated,

Amended and Restated Promissory Note in the original principal amount of $14,200,000.00 (the

“Note”), payable on the sixth day of each and every month (the “Monthly Payment Date”) from

October 6, 2019 and continuing until September 6, 2029 (the “Maturity Date”), at which time all

unpaid principal, accrued and unpaid interest and all other amounts due under the Loan Documents

(defined below) (collectively, the “Debt”), would be due and payable in full, unless earlier


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accelerated. The Note provides for non-default interest at the rate of 5.20% per annum (the

“Interest Rate”)

                17.     To secure payment of the Note, on or about September 3, 2019, Borrower

executed, acknowledged and delivered to Original Lender, that certain Consolidated, Amended

and Restated Mortgage, Assignment of Leases and Rents, Security Agreement and Fixture Filing

dated as of September 3, 2019, and in the original principal amount of $14,200,000.00 (the

“Mortgage”).

                18.     On September 6, 2019, Original Lender duly recorded the Mortgage against

the Property in City Register’s Office as CRFN 2019000286575 and duly paid the mortgage

recording taxes.

                19.     By the Mortgage, Borrower grants a security interest in favor of the holder

of the Mortgage in, inter alia, the Land, the Additional Land, the Improvements, the Equipment,

the Fixtures, the Personal Property, the Leases and the Rents (all as defined in the Mortgage)

(collectively, the “Collateral”). The Collateral is more particularly described in Exhibit B annexed

hereto and made a part hereof.

                20.     As additional collateral security for the payment of the Loan, Borrower

executed, acknowledged, and delivered to Original Lender an Assignment of Leases and Rents

dated as of September 3, 2019 (the “ALR”) pursuant to which Borrower, inter alia, granted to

Original Lender a security interest in all Leases and Rents (as defined in the Loan Agreement)

generated by the Property. On September 6, 2019, Original Lender duly recorded the ALR against

t in City Register’s Office as CRFN 2019000286576.

                21.     To perfect its interest in the Collateral:

                        a.      On September 6, 2019, Original Lender recorded a Uniform

                Commercial Code Financing Statement with the City Register’s Office as CRFN

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                2019000286577 (the “Owner Borrower County UCC-1”). The Owner Borrower

                County UCC-1 names Original Lender as the secured party and Owner Borrower

                as the debtor; and

                        b.      On September 12, 2019, Original Lender recorded a Uniform

                Commercial Code Financing Statement with the City Register’s Office as CRFN

                2019000293842 (the “Operator Borrower County UCC-1”).                 The Operator

                Borrower County UCC-1 names Original Lender as the secured party and Operator

                Borrower as the debtor.

                22.     To further perfect its interest in the Collateral:

                        a.      On September 3, 2019, Original Lender filed a Uniform

                Commercial Code Financing Statement with the New York State Department of

                State (“Dept. of State”) as File No. 201909030403150 (the “Owner Borrower State

                UCC-1”). The Owner Borrower State UCC-1 names Original Lender as the secured

                party and Owner Borrower as the debtor; and

                        b.      On September 3, 2019, Original Lender recorded a Uniform

                Commercial Code Financing Statement with the Dept. of State as File No.

                201909030403162 (the “Operator Borrower State UCC-1”).                The Operator

                Borrower State UCC-1 names Original Lender as the secured party and Operator

                Borrower as the debtor.

                23.     In order to induce Original Lender to give the Loan and to further secure its

repayment, Guarantors executed a Limited Recourse Guaranty of Recourse Obligations dated

September 3, 2019 (the “Guaranty”), wherein and whereby they irrevocably, absolutely and

unconditionally guaranteed the full, prompt and complete payment when due of the Guaranteed

Obligations of Borrower (as defined in the Guaranty) (The Loan Agreement, the Note, the

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Mortgage, the Owner Borrower County UCC-1, the Operator Borrower County UCC-1, the Owner

Borrower State UCC-1, the Operator Borrower State UCC-1, the Guaranty, and all related loan

documents shall be referred to collectively herein as the “Loan Documents”).2

B.         Assignment of the Loan Documents to Interim Holder

                   24.      Original Lender executed an allonge to the Note (the “Interim Allonge”),

indorsed in favor of Tuebor TRS II LLC (the “Interim Holder”), and delivered the Note, with the

Interim Allonge affixed thereto, to Interim Holder. By virtue of this delivery, Original Lender

transferred to Interim Holder all of its rights, title, and interest in and to the Note and Interim

Holder became the assignee and holder of the Note.

                   25.      Original Lender also executed and delivered an Assignment of

Consolidated, Amended and Restated Mortgage, Assignment of Leases and Rents, Security

Agreement and Fixture Filing dated September 6, 2019 (the “Interim Assignment of Mortgage”)

in favor of the Interim Holder pursuant to which Original Lender transferred to the Interim Holder

all rights, title and interest in and to the Mortgage. By virtue of the Interim Assignment of

Mortgage, the Interim Holder became the holder of the Mortgage. On September 18, 2019, the

Interim Holder recorded the Interim Assignment of Mortgage in the City Register’s Office as

CRFN 2019000300939.

                   26.      Original Lender also executed and delivered an Assignment of Assignment

of Leases and Rents dated September 6, 2019 ad in favor of the Interim Holder (the “Holder

Assignment of ALR”) pursuant to which Original Lender transferred to the Interim Holder all

rights, title and interest in and to the ALR. By virtue of the Interim Assignment of ALR, the




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    Capitalized terms not otherwise defined herein shall have the same meaning as ascribed in the Loan Documents.
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Interim Holder became the holder of the ALR. On September 18, 2019, the Interim Holder

recorded the Interim Assignment of ALR in the City Register’s Office as CRFN 2019000300940.

                27.     By a Uniform Commercial Code Financing Statement Amendment filed

with the City Register’s Office on September 6, 2019 as CFRFN 2019000300941, Original Lender

assigned the Operator Borrower County UCC-1 to Interim Holder.

                28.     By a Uniform Commercial Code Financing Statement Amendment filed

with the City Register’s Office on September 6, 2019 as CFRFN 2019000300942, Original Lender

assigned the Owner Borrower County UCC-1 to Interim Holder.

                29.     By a Uniform Commercial Code Financing Statement Amendment filed

with the Dept. of State on October 9, 2019 as File No. 201910090468581, Original Lender

assigned the Owner Borrower State UCC-1 to Interim Holder.

                30.     By a Uniform Commercial Code Financing Statement Amendment filed

with the Dept. of State on October 9, 2019 as File No. 201910090468593, Original Lender

assigned the Operator Borrower State UCC-1 to Interim Holder.

C.      Assignment of the Loan Documents to Plaintiff

                31.     Interim Holder executed an allonge to the Note, indorsed in blank (the

“Plaintiff Allonge”), and delivered the Note, with the Plaintiff Allonge affixed thereto, to Plaintiff.

By virtue of this delivery, Interim Holder transferred to Plaintiff all of its rights, title, and interest

in and to the Note and Plaintiff became the assignee and holder of the Note.

                32.     Interim Holder also executed and delivered an Assignment of Mortgage

dated October 15, 2019 in favor of Plaintiff (the “Plaintiff Assignment of Mortgage”) pursuant to

which the Interim Holder transferred to Plaintiff all rights, title and interest in and to the Mortgage.

By virtue of the Plaintiff Assignment of Mortgage, Plaintiff became the holder of the Mortgage.



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On March 2, 2020, Plaintiff recorded the Plaintiff Assignment of Mortgage in the City Register’s

Office as CRFN 2020000079838.

                33.     Interim Holder also executed and delivered an Assignment of Assignment

of Leases and Rents dated August 25, 2016 in favor of Plaintiff (the “Plaintiff Assignment of

ALR”) pursuant to which Interim Holder transferred to Plaintiff all rights, title and interest in and

to the ALR. By virtue of the Plaintiff Assignment of ALR, Plaintiff became the holder of the ALR.

On March 2, 2020, Plaintiff recorded the Plaintiff Assignment of ALR in the City Register’s Office

as CRFN 2020000079839.

                34.     By a Uniform Commercial Code Financing Statement Amendment filed

with the City Register’s Office on October 15, 2019 as CFRFN 2020000079840, Interim Holder

assigned the Operator Borrower County UCC-1 to Plaintiff.

                35.     By a Uniform Commercial Code Financing Statement Amendment filed

with the City Register’s Office on October 15, 2019 as CFRFN 2020000079841, Interim Holder

assigned the 36th Inc. County UCC-1 to Plaintiff.

                36.     By a Uniform Commercial Code Financing Statement Amendment filed

with the Dept. of State on April 20, 2020 as File No. 202004208161393, Interim Holder assigned

the 36th Inc. State UCC-1 to Plaintiff.

                37.     By a Uniform Commercial Code Financing Statement Amendment filed

with the Dept. of State on April 20, 2020 as File No. 202004208161418, Interim Holder assigned

the Operator Borrower State UCC-1 to Plaintiff.

                38.     Plaintiff is the present owner and holder of the Loan and the Loan

Documents, and is entitled to enforce the Note and foreclose upon the Mortgage.




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D.      Borrowers’ Defaults Under the Loan Documents

        i.       The Payment Default

                 39.    Section 10.1(a)(i) of the Loan Agreement provides that an Event of Default

shall occur if, inter alia, “any monthly installment of principal and/or interest due under the Note

. . . is not paid when due.”

                 40.    Section 2.3.1(b) of the Loan Agreement obliges Borrowers to remit

Monthly Debt Service Payments on each Monthly Payment Date beginning on October 6, 2019

and continuing until the Maturity Date.

                 41.    By Notice of Event of Default and Demand for Payment dated July 20, 2020

(the “July 2020 Notice of Default”), Plaintiff, through Special Servicer, notified Borrowers that

Events of Default have existed and are continuing under, inter alia, Section 10.1(a)(i) of the Loan

Agreement as a result of Borrowers’ failures to remit Monthly Debt Service Payments on the May

2020 Monthly Payment Date and each Monthly Payment Date occurring monthly thereafter

pursuant to Section 2.3.1(b) of the Loan Agreement, revoked Borrowers’ license to collect the

Rents and profits generated by the Property, and demanded that they comply with their obligations

under the Loan Documents.

                 42.    Accordingly, an Event of Default under the Loan Documents has occurred

and is continuing since May 6, 2020 under Section 10.1(a)(i) of the Loan Agreement as a result

of, inter alia, Borrowers’ continued failure to remit the Monthly Debt Service Payments on the

May 2020 Monthly Payment Date and each Monthly Payment Date occurring monthly thereafter

(the “Payment Default”).

        ii.      The Fraud Default

                 43.    Within Section 3.1.24 of the Loan Agreement, Borrowers represented and

warranted that “since such Individual Borrower’s creation, as of the date hereof and until such

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time as the Obligations shall be paid and performed in full, each Individual Borrower has complied

with, is in compliance with, and shall comply with the requirements set forth on Schedule III

attached hereto.”

                 44.    Pursuant to Schedule III(d) of the Loan Agreement, Borrowers represented

and warranted, as of the date of the Loan Agreement, and covenanted and agreed in the future that,

inter alia, “[n]o Indebtedness other than the Debt may be secured (subordinate or pari passu) by

the Property.”

                 45.    Section 10.1(a)(vi) of the Loan Agreement provides that an Event of Default

shall occur “if any representation or warranty made by Borrower or any Guarantor in any Loan

Document, or in any report, certificate, financial statement or other instrument, agreement or

document furnished to Lender shall have been false or misleading in any material respect as of the

date such representation or warranty was made.”

                 46.    Further, Section 10.1(a)(xi) of the Loan Agreement provides that it shall be

an Event of Default “if any Individual Borrower breaches any representation, warranty or covenant

contained in Sections 3.1.24 or 4.1.15 hereof or on Schedule III attached hereto[.]”

                 47.    Borrowers made the representations and warranties within Section 3.1.24

of the Loan Agreement despite having incurred and granted the Subordinate Mortgage as an

unpermitted debt and encumbrance against the Property.

                 48.    Accordingly, an Event of Default has occurred and is continuing under

Sections 10.1(a)(vi) and (xi) of the Loan Agreement since September 3, 2019 because Borrowers’

representations and warranties in Section 3.1.24 of the Loan Agreement were false or materially

misleading as of September 3, 2019, the date they were made (the “Fraud Default”).




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        iii.    The Covenant Default

                49.      Section 10.1(a)(xiii) of the Loan Agreement provides that an Event of

Default shall occur “if the Property becomes subject to any . . . Lien . . . .”

                50.      Section 4.1.15 of the Loan Agreement obliges Borrowers to, “at all times

comply with the requirements set forth on Schedule III attached hereto and shall not take or permit

any action that would result in any Individual Borrower not being in compliance with the

representations, warranties and covenants set forth in Section 3.1.24 and Schedule III attached

hereto.”

                51.      On November 15, 2019, and during the term of the Loan Agreement,

Borrower obtained granted the Subordinate Mortgage to defendant NewBank despite covenanting

not to do so in Schedule III(d) of the Loan Agreement.

                52.      Accordingly, an Event of Default has occurred and is continuing under

Sections 10.1(a)(xi) and (xiii) of the Loan Agreement since November 15, 2019 as a result of

Borrowers’ breaches of the covenants contained in Sections 4.1.15 of the Loan Agreement and the

Property becoming subjected to the Subordinate Mortgage lien (the “Covenant Defaults”).

        iv.     The Insurance Default

                53.      Pursuant to Section 5.1.1(a) of the Loan Agreement, Borrower is obligated

to “obtain and maintain during the entire Term, or cause to be maintained, insurance policies [the

“Policies” as defined therein] for Borrower and the Property[.]”

                54.      Section 10.1(a)( ii) of the Loan Agreement provides that an Event of Default

shall occur if, inter alia, “if the Policies are not . . . kept in full force and effect.”

                55.      By Notice of Default and Demand for Financial Information dated June 3,

2021 (the “June 2021 Notice of Default”), the Plaintiff, through counsel, notified Borrower and



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Guarantors of, inter alia, Borrowers’ failure to maintain insurance policies as required under

section 5.1.1(a) under the Loan Agreement.

                56.     Accordingly, an Event of Default under the Loan Documents has occurred

and is continuing since at least February 6, 2021, the date on which the last insurance policy

Borrowers maintained for the Property expired, as a result of, inter alia, Borrowers’ failure to

maintain insurance as required under Section 5.1.1(a) of the Loan Agreement (the “Insurance

Default”).

        v.      The Financial Reporting Default

                57.     Section 10.1(a)(xxii)(B) of the Loan Agreement provides that it shall be an

Event of Default “if Borrower shall continue to be in Default under any of the other terms,

covenants or conditions of this Agreement not specified in subsections (i) to (xxi) above . . . for

thirty (30) days after the earlier of (1) Borrower’s knowledge thereof and (2) notice to Borrower

from Lender, in the case of any other Default[.]”

                58.     Section 4.1.7(c)(i) of the Loan Agreement, Borrower is obliged to furnish,

inter alia, “quarterly and year-to-date statements of income and expense and cash flow for such

quarter with respect to the Property, with a balance sheet for such quarter for Borrower, prepared

in accordance with the Uniform System of Accounts” to Plaintiff “on or before the forty-fifth

(45th) day after the end of each calendar quarter . . . .”

                59.     By the June 2021 Notice of Default, Plaintiff, through counsel, notified

Borrower and Guarantors of, inter alia, Borrowers’ failure to provide the quarterly financial

statements for the fourth quarter of 2020 and first quarter of 2021 (the “Delinquent Financial

Items”) under Section 4.1.7(c)(i) of the Loan Agreement.

                60.     Despite receipt of the June 2021 Notice of Default, Borrower continuously

failed to furnish Lender with the Delinquent Financial Items.

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                61.     Accordingly, an Event of Default has occurred and is continuing under

Section 10.1(a)(xxii)(B) of the Loan Agreement since July 3, 2021 as a result of, inter alia,

Borrowers’ continued failure to provide the Delinquent Financial Items for thirty (30) days after

the June 2021 Notice of Default (the “Financial Reporting Default”).

        vi.     The Cash Management Default

                62.     Pursuant to, inter alia, Article 6 of the Loan Agreement, Borrower is obliged

to, inter alia, (i) maintain the Clearing Account and cause all Rents to be directly deposited therein

by Tenants of the Property throughout the term of the Loan; (ii) deposit (or cause to be deposited)

into the Clearing Account all Rents otherwise received within one (1) Business Day of receipt;

(iii) not commingle any Rents with any other funds or property of Borrower or Manager; and (iv)

upon occurrence of a Cash Management Period establish a Cash Management Account

(collectively, the “Cash Management Obligations”).

                63.     By the June 2021 Notice of Default, Plaintiff, through counsel, notified

Borrower of, inter alia, Borrowers’ failure to uphold its Cash Management Obligations.

                64.     Despite receipt of the June 2021 Notice of Default, Borrower continuously

failed to uphold its Cash Management Obligations.

                65.     Accordingly, an Event of Default has occurred and is continuing under

Section 10.1(a)(xxii)(B) of the Loan Agreement since July 3, 2021 as a result of, inter alia,

Borrowers’ continued failure to uphold its Cash Management Obligations for thirty (30) days after

the June 2021 Notice of Default (the “Cash Management Default”).

        vii.    The Cessation of Operations Default

                66.     Pursuant to Section 10.1(a)(xvii) of the Loan Agreement, it shall be an

Event of Default “if Borrower ceases to continuously operate the Property or any material portion



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thereof as a hotel for any reason whatsoever (other than temporary cessation in connection with

any repair or renovation thereof undertaken with the prior written consent of Lender)[.]”

                67.     Pursuant to Section 4.1.19(b)(i) of the Loan Agreement, Borrower shall, at

all times, “cause the hotel located on the Property to be operated, required and maintained as a

well-maintained hotel . . . .”

                68.     Upon information and belief, Borrower ceased Hotel operations at the

Property in June 2020 and, to date, has not resumed such operations.

                69.     Accordingly, an Event of Default has occurred and is continuing under

Section 10.1(a)(xvii) of the Loan Agreement since June 30, 2020 as a result of, inter alia,

Borrowers’ cessation of and continuous failure to resume operations at the Property in violation of

Section 4.1.19(b)(i) of the Loan Agreement (the “Cessation of Operations Default”).

E.      Plaintiff’s Remedies Under the Loan Documents

                70.     Section 2.3.3 of the Loan Agreement provides, in relevant part, that “[i]f

any principal, interest or any other sum due under the Loan Documents . . . is not paid by Borrower

on the date on which it is due, Borrower shall pay to Lender upon demand an amount equal to the

lesser of five percent (5%) of such unpaid sum or the maximum amount permitted by any Legal

Requirements . . . .”

                71.     Section 2.2.2 of the Loan Agreement provides, in relevant part, that “[i]n

the event that, and for so long as, any Event of Default shall have occurred and be continuing, the

Outstanding Principal Balance and, to the extent permitted by law, overdue interest in respect of

the Loan, shall, at Lender’s election, accrue interest at the Default Rate, calculated from the date

the Default occurred which led to such Event of Default, without regard to any grace or cure

periods contained herein.” The Default Rate is equal to the lesser of (a) the maximum rate



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permitted by applicable law, or (b) five percent (5%) above the Interest Rate (5.20%). As such,

the Default Rate is 10.20%.

                72.      The Loan Documents further provide that, upon the occurrence of an Event

of Default, the holder of the Mortgage shall be entitled to collect the rents and profits from the

Property or to have a receiver appointed to take possession of the Property and to collect the rents

and profits therefrom.

                73.      The Loan Documents further provide that upon an Event of Default,

Borrower shall be liable for all costs incurred for collecting, securing or attempting to collect or

secure any amounts due under the Loan Documents, including reasonable attorneys’ fees and other

legal costs.

                74.      By letter dated November 13, 2020 (the “Notice of Acceleration”), Plaintiff,

through counsel, inter alia, notified Borrowers and Guarantors of their failure to cure the Payment

Default and accelerated all sums due and owing under the Loan Documents. To date, Borrower

has not paid the amounts due under the Loan Documents.

                75.      By letter dated June 3, 2021, Plaintiff, through its counsel, inter alia,

provided Borrowers with an opportunity to submit a “Hardship Declaration” pursuant to the

COVID-19 Emergency Protect Our Small Business Act of 2021 (NY State Senate Bill S471A)

“EPOSBA”.

                76.      While Owner Borrower executed and returned the “Hardship Declaration"

to Plaintiff's counsel on or about June 7, 2021, upon information and belief, Borrowers do not

qualify for the protections under neither EPOSBA nor New York State’s new legislation, made

effective as of September 2, 2021, that extended the foreclosure moratorium until January 15, 2022

(NY State Senate Bill 50001).



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                77.     Despite receipt of the Notice of Acceleration, Borrowers and Guarantors

have failed to cure the existing Events of Default and satisfy their obligations under the Loan

Documents.

                78.     There is now due, owing and payable to Plaintiff under the Loan

Documents: (i) $14,072,704.22 in principal; (ii) accrued and unpaid interest at the contract and

default rates; (iii) late charges; (iv) attorneys’ fees, costs and expenses; (v) the Yield Maintenance

Default Premium (as calculated in the Loan Agreement); and (vi) all other sums provided for under

the Loan Documents.

                79.     In order to protect the lien and security represented by the Mortgage during

the pendency of this action, Plaintiff may be compelled to pay insurance premiums, taxes,

assessments, water charges, sewer charges, attorneys’ fees, repairs and other expenses or charges

affecting the Property. Plaintiff asks that any amount so paid and expended by it during the

pendency of this action be added, pursuant to the Loan Documents, to its claim and, together with

interest thereon from the date that such expenditures are made, and that the same be added to the

amounts due Plaintiff and secured by the Loan Documents.

                80.     The Defendants named herein are obligated to pay the mortgage

indebtedness and/or have, claim to have, or may have some possessory or other interest in or lien

upon the Property, or some part thereof, which interest or lien, if any, accrued subsequent to, and

is subject and subordinate to, the lien of the Mortgage.

                81.     Plaintiff has brought no other action or proceeding to recover any part of

the Debt herein described.

                WHEREFORE, Plaintiff demands judgment against the defendants as follows:

                A.      Fixing the amount due to Plaintiff pursuant to the Loan Documents;



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                B.      Directing that Plaintiff be paid the amounts due pursuant to the Loan

Documents, with interest, advances, other charges, attorneys’ fees and costs;

                C.      Adjudging that the Property be sold according to law to satisfy the amounts

due to Plaintiff;

                D.      Barring and foreclosing the Defendants, and each of them, from all equity

of redemption in and to the Property;

                E.      Awarding Plaintiff its costs of suit and attorneys’ fees; and

                F.      Granting such other relief as is equitable and just.

                                        SECOND COUNT
                                   (Security Interest Foreclosure)

                82.     Plaintiff repeats and incorporates herein the allegations contained in

Paragraphs 1 through 81 above, as if the same were set forth and repeated at length herein.

                83.     When Borrower executed the Mortgage, it granted a valid and enforceable

security interest in the Collateral.

                84.     Plaintiff holds a duly perfected security interest in the Collateral by virtue

of the recorded Mortgage, the recorded the Mortgage, the Owner Borrower County UCC-1, the

Operator Borrower County UCC-1, the Owner Borrower State UCC-1, the Operator Borrower

State UCC-1, and the subsequent assignments thereof.

                85.     Pursuant to the terms of the Loan Documents, Plaintiff elects to have the

Collateral sold together with the Property at a single public sale.

                86.     No person or entity possesses an interest in the Collateral superior to the

security interest held by Plaintiff.

                WHEREFORE, Plaintiff demands judgment against the defendants as follows:




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                  A.    Adjudging that the Collateral be sold together with the Property at a single

public sale to satisfy the amounts due to Plaintiff; and

                  B.    Barring and foreclosing the defendants of all equity of redemption in and to

the Collateral.

                                          THIRD COUNT
                                            (Possession)

                  87.   Plaintiff repeats and incorporates herein the allegations contained in

Paragraphs 1 through 86 above, as if the same were set forth and repeated at length herein.

                  88.   By reason of Borrowers’ default under the terms of the Loan Documents,

Plaintiff is entitled to possession of the Property and the Collateral located.

                  89.   Borrower is now in possession of the Property and has deprived, and

continue to deprive, Plaintiff of possession of the Property and Collateral.

                  WHEREFORE, Plaintiff demands judgment against the defendants as follows:

                  A.    Granting Plaintiff, its assignee or the purchaser of the Property at the

foreclosure sale, possession of the Property and Collateral;

                  B.    Awarding Plaintiff damages for mesne profits; and

                  C.    Granting Plaintiff its costs of suit, including reasonable attorneys’ fees.

                                       FOURTH COUNT
                                   (Appointment of a Receiver)

                  90.   Plaintiff repeats and incorporates herein the allegations contained in

Paragraphs 1 through 89 above, as if the same were set forth and repeated at length herein.

                  91.   The Leases, the Rents, the books, records, and other property relating to the

ownership and operation of the Property (collectively, the “Borrowers’ Assets”) are the sole assets

of Borrower.



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                92.     Except for certain limited qualifications as set forth in the Loan Documents,

Borrower has no personal liability for repayment of the Loan, and Plaintiff’s primary recourse for

repayment of the Loan is the collateral securing the Loan.

                93.     The Loan Documents expressly allow Plaintiff to seek, and indicate

Borrowers’ express consent to, the appointment of a receiver upon the occurrence of an Event of

Default.

                94.     Borrower and its agents are still in possession of Borrowers’ Assets.

                95.     Plaintiff, as an interested and secured party, is potentially threatened with

material losses and injuries, including the Borrowers’ Assets suffering continuous waste and a

dissipation or diminution in value, if Borrower remains in control of Borrowers’ Assets.

                96.     Therefore, in accordance with Rule 66 of the Federal Rules of Civil

Procedure, Plaintiff, as a secured creditor, asks the Court to appoint a receiver to take immediate

possession of and hold, subject to the discretion of this Court, the Property and Borrowers’ Assets.

                WHEREFORE, Plaintiff demands judgment against the defendants as follows:

                A.      Appointing a receiver of the Property and Borrowers’ Assets;

                B.      Directing all tenants in possession of the Properties to pay the appointed

receiver all rent, income and profits;

                C.      Awarding Plaintiff its costs of suit and attorneys’ fees; and

                D.      Granting such other relief as is equitable and just.

                                        FIFTH COUNT
                              (Breach of Contract of the Guaranty)

                97.     Plaintiff repeats and incorporates herein the allegations contained in

Paragraphs 1 through 96 above, as if the same were set forth and repeated at length herein.




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                98.     Section 11.22(vi)(B) of the Loan Agreement authorizes Plaintiff to enforce

the “liability and obligation of Borrower, by money judgment or otherwise, to the extent of any

loss, damage, cost, expense, liability, claim or other obligation incurred by Lender (including

attorneys’ fees and costs reasonably incurred) arising out of or in connection with . . . the failure

to . . . obtain and maintain the fully paid for Policies in accordance with Section 5.1 hereof . . . .”

                99.     Further, pursuant to Section 11.22(B)(4) that “the Obligations shall be fully

recourse to Borrower in the event that . . . Borrower fails to obtain Lender’s prior written consent

to any Indebtedness or any voluntary Lien encumbering the Property or any portion thereof or

interest therein, except to the extent expressly permitted by the Loan Documents[.]”

                100.    In order to induce Original Lender to make the Loan to Borrower,

Guarantors executed, acknowledged and delivered to Original Lender the Guaranty.

                101.    Pursuant to the terms of the Guaranty, Guarantors irrevocably and

unconditionally covenants and agrees that he is liable for the Guaranteed Obligations, and that

Guarantors shall fully perform each and every term and provision thereof.

                102.    Moreover, Guarantors agreed that, with or without notice or demand,

Guarantors will reimburse Plaintiff, to the extent that such reimbursement is not made by

Borrower, for all expenses (including reasonable attorney’s fees) incurred by Plaintiff in

connection with the collection of the Guaranteed Obligations or any portion thereof or with the

enforcement of the Guaranty.

                103.    Plaintiff is the current holder of the Note, the Mortgage and the Guaranty.

                104.    Plaintiff has brought no other action or proceeding to recover any part of

the mortgage indebtedness herein described.

                WHEREFORE, Plaintiff demands judgment against Guarantors as follows:



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                A.      Fixing the amount due to Plaintiff from Guarantors pursuant to the Guaranty

and any other applicable Loan Documents;

                B.      Adjudging that Plaintiff is entitled to be paid by Guarantors the amounts

due pursuant to the Guaranty, with interest, advances, other charges, attorneys’ fees and costs; and

                C.      Awarding Plaintiff its costs of suit and attorneys’ fees; and

                D.      Granting such other relief as is equitable and just.

Dated: New York, New York
       January 12, 2022
                                           HOLLAND & KNIGHT LLP


                                           By:       /s/ Keith M. Brandofino
                                                 Keith M. Brandofino, Esq.
                                                 David V. Mignardi, Esq.
                                                 Attorneys for Plaintiff
                                                     Wilmington Trust, National Association, As
                                                     Trustee For The Benefit of the Registered
                                                     Holders of UBS Commercial Mortgage Trust
                                                     2019-C17, Commercial Mortgage Pass-
                                                     Through Certificates Series 2019-C17, acting by
                                                     and through its special servicer, Rialto Capital
                                                     Advisors, LLC, as Special Servicer under the
                                                     Pooling and Servicing Agreement dated as of
                                                     October 1, 2019
                                                 900 Third Avenue, 20th Floor
                                                 New York, New York 10022
                                                 (212) 751-3001
                                                 keith.brandofino@hklaw.com
                                                 david.mignardi@hklaw.com




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                                     Exhibit A
                               (Property Description)




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                                      Exhibit B
                               (Collateral Description)




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